          Case 2:17-bk-24312-ER       Doc 8 Filed 12/05/17 Entered 12/05/17 16:04:45              Desc
                                      Main Document     Page 1 of 14



         Erick Garcia Hernandez SBN :27 8603
                                :


         Law Office of Erick Garcia
2        3721W 6ft St., Suite 603
         Los Angeies, CA 90020
3        T:213-814-0462
I
         F:2t3-814-2486
         E : egarcia@garciaslaw. com

5
         Attorney for Movant, ROGEIR PEREZ GOMEZ
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                                         United States BankruPtcY Court
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                                          Central District of Califomia
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L2        ln Re                                           Case No.: 2:17 -bk-243 12-ER

13           ALEIDA SANCHEZ,                              Chapter 7

L4                 Debtors.                               Movant, ROGER PERE": G^OMEZ'
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                                                          Flonorable Ernest Robles

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    2t     Movant, ROGER PEREZ GOMEZ, Exhibits to Motion
                                                                     Does Not Apply
    22               or For Order Confirming that the Automatic Stay

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    24
                                                                     Motion for Relief from the
    25           Movant, ROGER PI3,REZ GOMEZ's, Exhibits to the
                                                                     Stay Does Not Apply' filed
    26     Automatic stay or For Order confirming that the Automatic

    21     December 5,20L1 are attached hereto'

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         Case 2:17-bk-24312-ER       Doc 8 Filed 12/05/17 Entered 12/05/17 16:04:45         Desc
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1        Dated: December 5,2017                          Respectfuily Submitted,

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                                                         isl Erick Garcia Hernandez

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                                                          Erick Garcia Hemandez,

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                                                          Attorney for ROGER PEREZ GOMEZ

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                Plaintiff has met all apllicable requirements of the ordinances'

15.   il       i0ther allesalipns are stated]n '{ttachment 15'
16.   Plaintiff accepts the jurisdictional limit, if any, of the courl

17.   FLAINTFT.R:EQU.ESTS
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  Iamthep|aintiffinthisproceedingandhavereadthiscomp|aint.Ideclareunderpenaltyofperjuryunderthe|awsofiheStateof
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